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             NOT YET SCHEDULED FOR ORAL ARGUMENT

                                  No. 24-5101

                 UNITED STATES COURT OF APPEALS
               FOR THE DISTRICT OF COLUMBIA CIRCUIT


              CENTER FOR BIOLOGICAL DIVERSITY, et al.,
                 Plaintiffs-Appellees/Plaintiffs-Appellants,

                                       v.

                         MICHAEL REGAN, et al.,
                 Defendants-Appellants/Defendants-Appellees,

                                      and

                       STATE OF FLORIDA, et al.,
    Intervenors-Defendants-Appellants/ Intervenors-Defendants-Appellees.


    Appeal from the United States District Court for the District of Columbia
                 No. 1:21-cv-00119 (Hon. Randolph D. Moss)


FEDERAL DEFENDANTS’ UNOPPOSED MOTION FOR EXTENSION OF
               TIME TO FILE REPLY BRIEF


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   CERTIFICATE AS TO PARTIES, RULINGS, AND RELATED CASES

      A.     Parties and Amici

      Plaintiffs-Appellees are the Center for Biological Diversity; Defenders of

Wildlife; Sierra Club; Conservancy of Southwest Florida; Florida Wildlife

Federation; Miami Waterkeeper; and St. Johns Riverkeeper.

      Federal Defendants-Appellants are Michael S. Regan, in his official capacity

as Administrator for the U.S. Environmental Protection Agency (EPA); Bruno

Pigott, in his official capacity as Acting Assistant Administrator for the Office of

Water of the EPA; Jeffrey Prieto, in his official capacity as General Counsel for the

EPA; David Uhlmann, in his official capacity as Assistant Administrator for the

Office of Enforcement and Compliance Assurance for the EPA; Jeaneanne Gettle,

in his official capacity as Acting Administrator for Region 4 of the EPA; Michael

Oetker, in his official capacity as Regional Director for the U.S. Fish and Wildlife

Service (FWS); Martha Williams, in her official capacity as Director for the FWS;

Lieutenant General Scott Spellmon, in his official capacity as Chief of Engineers

and Commanding General of the U.S. Army Corps of Engineers; Colonel Brandon

Bowman, in his official capacity as District Commander of the Jacksonville

District for the Corps; EPA; Corps; and FWS.

      Intervenor-Defendant-Appellants are the State of Florida and Florida

Department of Environmental Protection.



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         Amici before this Court are the Florida Chamber of Commerce; the

Association of Florida Community Developers, Inc.; the Mosaic Company; the

Florida Home Builders Association; the Florida Transportation Builders’

Association; the Leading Builders of America; the Associated Industries of

Florida; the Lennar Corporation; G.L. Homes of Florida Corp.; Greenpoint

Holdings; KB Home; Pulte Group; Taylor Morrison Home Corp; Florida State

Hispanic Chamber of Commerce.

         Additional amici before this Court are the States of Utah, Alabama, Alaska,

Arkansas, Idaho, Iowa, Kentucky, Louisiana, Mississippi, Montana, Nebraska,

Ohio, Oklahoma, South Carolina, South Dakota, Texas, Virginia, West Virginia,

and Wyoming.

         The Miccosukee Tribe of Indians of Florida is also an amicus before this

Court.

         Tarpon Blue Silver King I, LLC, doing business as Collier Enterprises, Ltd.,

was an additional party before the district court. Additional amici before the

district court were Cameratta Companies LLC and CAM7-SUB, LLC.

         B.    Rulings Under Review

         The State of Florida, the Florida Department of Environmental Protection,

and Federal Defendants appeal the district court’s February 15, 2024 order, as

amended on April 12, 2024. That order was made final and appealable on April 12,



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2024, when the district court entered a final judgment under Federal Rule of Civil

Procedure 54(b).

      C.      Related Cases

      None.

                                         /s/ Rebecca Jaffe
                                         REBECCA JAFFE

                                         Counsel for the United States




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      Federal Defendants move the Court for a 40-day extension of time to

January 13, 2025, to file their reply brief. Under the Court’s July 30, 2024, Order

adjudicating Federal Defendants’ opposed motion for an extension of time to file

their opening brief, Federal Defendants’ reply brief is due on December 2, 2024.

Florida does not oppose this motion so long as they receive the same extension to

January 13, 2025, for their reply brief. Plaintiffs do not oppose this motion so long

as the deadline for their reply brief is February 5, 2025, the joint appendix is due

February 26, 2025, and final briefs are due March 12, 2025.

      This extension is necessary because the undersigned counsel has many other

commitments. She had an expedited brief due November 8, 2024, in Appalachian

Voices v. U.S. Army Corps of Engineers (6th Cir. No. 24-3831). She will be on

leave November 23, 2024, to December 1, 2024, for family commitments. She has

an oral argument on December 10, 2024, in Cincinnati, Ohio, in Appalachian

Voices v. U.S. Army Corps of Engineers (6th Cir. No. 24-3831). And then she will

be on leave again from December 20, 2024, through January 1, 2025, for other

family commitments. In addition, the reply brief must undergo an extensive

review process, including review by the Environmental Protection Agency, the

U.S. Fish and Wildlife Service, the U.S. Army Corps of Engineers, and the

National Marine Fisheries Service—as well as multiple sections within the

Environment and Natural Resources Division of the Department of Justice.


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      Accordingly, Federal Defendants move the Court for a 40-day extension to

January 13, 2025, for their reply brief. So the schedule for the remaining deadlines

in this case would be: reply briefs for Florida and Federal Defendants due January

13, 2025; Plaintiffs’ reply brief due February 5, 2025; joint appendix due February

26, 2025; and final briefs due March 12, 2025.


                                          Respectfully submitted,

                                          /s/ Rebecca Jaffe
                                          TODD KIM
                                          Assistant Attorney General

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DJ 90-5-1-4-21866




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                     CERTIFICATE OF COMPLIANCE

      1.     This document complies with the type-volume limit of Federal Rule

of Appellate Procedure 27(d)(2)(A) because, excluding the parts of the document

exempted by Federal Rule of Appellate Procedure 32(f) this document contains

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                                         /s/ Rebecca Jaffe
                                         REBECCA JAFFE

                                         Counsel for the United States




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